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                 ORAL ARGUMENT NOT YET SCHEDULED

               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA, et al.,

              Petitioners,

       v.                                             Case No. 24-1193 and
                                                      consolidated cases
U.S. ENVIRONMENTAL PROTECTION
AGENCY, et al.,

              Respondents.


            UNOPPOSED MOTION TO CONTINUE ABEYANCE

      Respondents the United States Environmental Protection Agency and

Administrator Lee Zeldin (“EPA”) respectfully move the Court to extend the

abeyance by 30 days to allow new Agency leadership to determine how to proceed

with the litigation and the underlying rule. Petitioners in these consolidated cases

do not oppose this motion and Respondent-Intervenors take no position.

      1.     Petitioners seek review of an EPA final rule titled “Designation of

Perfluorooctanoic Acid (PFOA) and Perfluorooctanesulfonic Acid (PFOS) as

CERCLA Hazardous Substances,” 89 Fed. Reg. 39124 (May 8, 2024) (“Rule”).

      2.     On February 24, 2025, the Court granted Respondents’ motion to hold

the case in abeyance for 60 days pending new EPA leadership’s review of the Rule.
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Doc. No. 2102403. The Court’s order also directed the Respondents to file

motions to govern future proceedings on April 25, 2025. Id.

      3.     On April 30, 2025, the Court granted Respondents’ motion to continue

the abeyance for 30 days to allow additional time for EPA to review the Rule, with

motions to govern due by May 30, 2025. Doc. No. 2113719.

      4.     EPA’s new leadership is currently still in the process of reviewing the

issues presented in this case, evaluating the Rule within the broader context of

EPA’s comprehensive strategy to address PFOA and PFOS, and developing EPA’s

position on how to proceed in this litigation. To move forward through that

process in an orderly and deliberate fashion while preserving this Court’s and the

parties’ resources, EPA requests that the Court abate proceedings in this matter for

an additional 30 days.

      5.     This court has “broad discretion to stay proceedings as an incident to

its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997);

see also Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); Cottrell v. Duke, 737 F.3d

1238, 1248 (8th Cir. 2013). An abeyance is prudent “if the public welfare or

convenience will thereby be promoted.” Landis, 299 U.S. at 256.

      6.     Abeyance is warranted here because courts have long recognized that

agencies may generally review and, if appropriate, revise their past decisions. See,

e.g., Motor Vehicle Mfrs. Ass’n v. state Farm Mutual Auto. Ins. Co., 463 U.S. 29,
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42 (1983) (“[R]egulatory agencies do not establish rules of conduct to last forever

[and] an agency must be given able latitude to adapt their rules and policies to …

changing circumstances.”); Nat’l Ass’n of Home Builders v. EPA, 682 F.3d 1032,

1038, 1043 (D.C. Cir. 2012) (explaining that an agency’s “reevaluation of which

policy would be better in light of the facts” is “well within” its discretion and that a

change in administration is a “perfectly reasonable basis for an executive agency’s

reappraisal of the costs and benefits of its programs and regulations”) (internal

quotation marks omitted).

      7.     Courts routinely grant stays or abeyance in circumstances like those

presented here where a new administration seeks to review prior actions. See, e.g.,

Order, (Doc. Nos. 1883880, 1882301),1 Am. Fuel & Petrochem. v. EPA, No. 19-

1124 (D.C. Cir. Feb. 5, 2021) (rescheduling oral argument at EPA’s request to

accommodate change of administration); Order (Doc. Nos. 1675813, 1670157),

Am. Petroleum Inst. v. EPA, No. 13-1108 (D.C. Cir. May 18, 2017) (abating

challenge to EPA’s authority to regulate methane from oil and gas operations

following change of administration); Order (Doc. Nos. 1673071, 1668274), West

Virginia v. EPA, No. 15-1363 (D.C. Cir. Apr. 28, 2017) (abating challenges to

Clean Power Plan rule following change of administration).



1
 In this and the following citations, the first Document No. refers to the Court’s
Order and the second Document No. refers to EPA’s motion for a stay or abeyance.
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      8.     Continuing the abeyance would also preserve resources of the parties

and the Court. It is possible that after its review, EPA could take further action that

may obviate the need for judicial resolution of some or all of the disputed issues.

Good cause thus exists for the requested abeyance. See Anchor Line Ltd. v. Fed.

Maritime Comm’n, 299 F.2d 124, 125 (D.C. Cir. 1962) (“[W]hen an agency seeks

to reconsider its action, it should move the court to remand or to hold the case in

abeyance pending reconsideration by the agency.”); cf. Ctr. for Biological Diversity

v. EPA, 56 F.4th 55, 71 (D.C. Cir. 2022) (courts “routinely stay [their] hand when

parties identify developments that are likely to render judicial resolution

unnecessary”); Am. Petroleum Inst. v. EPA, 683 F.3d 382, 386-87 (D.C. Cir. 2012)

(finding proposed rule that would eliminate disputed issue rendered pending case

prudentially unripe).

      9.     No party would be unduly prejudiced by the requested abeyance, and

no party opposes this motion. Because this matter is already in abeyance no

deadlines will be impacted by continuing the abeyance.

      10.    For these reasons, the Court should continue to hold this matter in

abeyance for an additional 30 days, with motions to govern due at the end of that

period.
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                                 Respectfully submitted,

DATED: May 30, 2025                  ADAM R.F. GUSTAFSON
                                      Acting Assistant Attorney General

                                      /s/ Andrew D. Knudsen
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              CERTIFICATES OF COMPLIANCE AND SERVICE

      This document complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because, excluding the parts of the document exempted by

Federal Rule of Appellate Procedure 32(f), this document contains 812 words.

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Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

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Roman font.

      On May 30, 2025, I filed the foregoing with the Court’s CM/ECF system,

which will notify each party.

                                             /s/ Andrew D. Knudsen
                                             ANDREW KNUDSEN
